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 8                        UNITED STATES DISTRICT COURT
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10                      SOUTHERN DISTRICT OF CALIFORNIA
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12 IN RE:
                                           Case No. 3:17-CV-00108-GPC-MDD
13
14 QUALCOMM LITIGATION,                    [Consolidated with 3:17-CV-01010-GPC-
                                           MDD]
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16
                                           ORDER GRANTING MOTIONS TO
17                                         SEAL
18                                         [ECF Nos.: 887, 890, 894, 897, 900, 903,
                                           906, 909, 912, 915, 916, 920, 924, 925,
19                                         930, 934, 935, 940, 944, 947, 950, 951,
                                           956, 957, 962, 964, 968, 969, 972, 976,
20                                         991, 995, 1000, 1004, 1007, 1011, 1012,
                                           1016, 1021, 1033, 1049, 1052, 1056,
21                                         1059.]
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 1         Before the Court are numerous requests to seal portions of the parties’ replies and
 2   responses to motions in limine, Daubert motions, expert witness reports in support of
 3   those briefings, and other pre-trial motions with respect to authenticity and foundation
 4   objections as well as trial order and evidence presentation in Case No. 3:17-cv-00108-
 5   GPC-MDD, ECF Nos. 887, 890, 894, 897, 900, 903, 906, 909, 912, 915, 916, 920, 924,
 6   925, 930, 934, 935, 940, 944, 947, 950, 951, 956, 957, 962, 964, 968, 969, 972, 976, 991,
 7   995, 1000, 1004, 1007, 1011, 1012, 1016, 1021, 1033, 1049, 1052, 1056, 1059. No
 8   oppositions have been filed. Upon review of the moving papers, the information to be
 9   sealed, the applicable law, and for the following reasons, the Court GRANTS each of the
10   motions in their entirety.
11                                     LEGAL STANDARD
12         There is a presumptive right of public access to court records based upon the
13   common law and the first amendment. See Nixon v. Warner Commc’ns, Inc., 435 U.S.
14   589, 597 (1978); Phillips ex rel. Estates of Byrd v. General Motors Corp., 307 F.3d 1206,
15   1212-13 (9th Cir. 2002). Nonetheless, access may be denied to protect sensitive
16   confidential information. Courts are more likely to protect information covered by Rule
17   26(c) of the Federal Rules of Civil Procedure, but are not limited by items listed in
18   protective orders. See KL Group v. Case, Kay, & Lynch, 829 F.2d 909, 917-19 (9th Cir.
19   1987) (letter to client from attorney); Kalinauskas v. Wong, 151 F.R.D. 363, 365-67
20   (D. Nev. 1993) (confidential settlement agreement).
21         “Unless a particular court record is one traditionally kept secret, a strong
22   presumption in favor of access is the starting point.” Kamakana v. City & Cty. of
23   Honolulu, 447 F.3d 1172, 1178-80 (9th Cir. 2006) (citing Foltz v. State Farm Mut. Auto.
24   Ins. Co., 331 F.3d 1122, 1135 (9th Cir. 2003)). “In order to overcome this strong
25   presumption, a party seeking to seal a judicial record must articulate justifications for
26   sealing that outweigh the historical right of access and the public policies favoring
27   disclosure.” Id. at 1178-79.
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 1         The presumption of access is “based on the need for federal courts, although
 2   independent—indeed, particularly because they are independent—to have a measure of
 3   accountability and for the public to have confidence in the administration of justice.”
 4   United States v. Amodeo (Amodeo II ), 71 F.3d 1044, 1048 (2d Cir.1995); see also Valley
 5   Broad. Co. v. U.S. Dist. Court—D. Nev., 798 F.2d 1289, 1294 (9th Cir.1986) (explaining
 6   that the presumption of public access “promot[es] the public's understanding of the
 7   judicial process and of significant public events”).
 8         Accordingly, “[a] party seeking to seal a judicial record then bears the burden of
 9   overcoming this strong presumption by meeting the ‘compelling reasons' standard.”
10   Kamakana, 447 F.3d at 1178. Under this stringent standard, a court may seal records only
11   when it finds “a compelling reason and articulate[s] the factual basis for its ruling,
12   without relying on hypothesis or conjecture.” Id. at 1179. The court must then
13   “conscientiously balance[ ] the competing interests of the public and the party who seeks
14   to keep certain judicial records secret.” Id. (quoting Foltz, 331 F.3d at 1135) (alteration in
15   original) (internal quotation marks omitted). What constitutes a “compelling reason” is
16   “best left to the sound discretion of the trial court.” Nixon, 435 U.S. at 599.
17         Previously, some courts applied a “compelling reason” or “good cause” standard
18   for sealing depending on whether the pending motion was dispositive or non-dispositive.
19   E.g., Kamakana, 447 F.3d at 1180 (9th Cir. 2006) (parties seeking to seal documents in a
20   dispositive motion must provide “compelling reasons” to support a sealing whereas for
21   non-dispositive motions the parties must show a lesser “particularized showing” under
22   the “good cause” standard pursuant to Federal Rule of Civil Procedure 26(c)); Phillips ex
23   rel. Estates of Byrd v. Gen. Motors Corp., 307 F.3d 1206, 1213 (9th Cir. 2002) (when a
24   party attaches a sealed discovery document to a nondispositive motion, the usual
25   presumption of the public's right of access is rebutted).
26         Other courts rejected this binary approach. In re Midland National Life Insurance
27   Company Annuity Sales Practices Litigation, 686 F.3d 1115 (9th Cir.2012), is one such
28   case that rejected the literal dispositive/nondispositive label. In that case, an intervenor

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 1   moved to unseal documents attached to a Daubert motion. Id. at 1118. The district court,
 2   like the district court here, concluded that the documents should remain under seal
 3   because “the Daubert motion was non-dispositive,” as it “would not have been a
 4   determination on the merits of any claim or defense.” Id. at 1119. The Ninth Circuit
 5   rejected the district court's focus on whether the motion was literally “dispositive”: “That
 6   the records are connected to a Daubert motion does not, on its own, conclusively resolve
 7   the issue.” Id. As the motion, in effect, “pertain[ed] to central issues bearing on
 8   defendant's summary judgment motion,” we treated that motion as dispositive. Id.
 9   Similarly, the court in Ctr. for Auto Safety v. Chrysler Grp., LLC, 809 F.3d 1092, 1100
10   (9th Cir. 2016) observed that it would not allow the technically nondispositive nature of a
11   Daubert motion to cloud the reality that it was able to significantly affect the disposition
12   of the issues in the case.
13         Here, the motions to seal relate to numerous evidentiary and pre-trial motions.
14   This Court will apply the “compelling reasons” standard to these motions and related
15   briefing as those submissions pertain to central issues at trial and are “more than
16   tangentially related to the underlying cause of action.” Ctrs. for Auto Safety v. Chrysler
17   Grp., 809 F.3d 1092, 1099 (9th Cir. 2016).
18         Compelling reasons for sealing information exist “when such ‘court files might
19   have become a vehicle for improper purposes,’ such as the use of records to gratify
20   private spite, promote public scandal, circulate libelous statements, or release trade
21   secrets.” Kamakana, 447 F.3d at 1179 (quoting Nixon, 435 U.S. at 598). Trade secrets
22   “may consist of any formula, pattern, device or compilation of information which is used
23   in one’s business, and which gives him an opportunity to obtain advantage over
24   competitions who do not know or use it.” Restatement (First) of Torts § 757 cmt. b.
25   Because trade secrets concern proprietary and sensitive business information not
26   available to the public, sealing may be warranted where disclosure would harm a
27   litigant’s competitive standing. Nixon, 425 U.S. at 598.
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 1         The Ninth Circuit has explicitly recognized that compelling reasons exist for the
 2   sealing of “pricing terms, royalty rates, and guaranteed minimum payment terms” of
 3   license agreements. See In re Elec. Arts, Inc., 298 F. App’x 568, 569 (9th Cir. 2008).
 4   Courts in this circuit have also recognized that information subject to confidentiality
 5   agreements may also meet the “compelling reasons” standard when accompanied by a
 6   particularized factual showing. See Foltz, 331 F.3d at 1137-38.
 7                                          DISCUSSION
 8         The overwhelming majority of information that the parties seek to seal constitutes
 9   confidential business information of the parties, including trade secrets, proprietary
10   business records, discussions of internal strategy, company dealings, and materials
11   designated as “Highly Confidential.” For the reasons that follow, the Court concludes
12   that the parties have demonstrated that compelling reasons exist for sealing the
13   information subsumed by these categories.
14         First, the Court is convinced that good cause exists to seal the unredacted portions
15   of these motions and the requisite exhibits that detail sensitive financial terms, royalty
16   agreements, proprietary business strategies, and confidential licensing negotiations. Each
17   of the parties has articulated that public disclosure of the information they seek to seal
18   would harm their competitive standing by concurrently releasing such information to
19   market competitors. Additionally, the parties have submitted declarations for each of
20   these motions and provied the Court with a factual basis for their claims of undue
21   prejudice through competitive harm. Furthermore, the parties’ proposed sealings hew to
22   the lines that the Court has drawn in prior orders granting the parties’ motions to file
23   under seal, especially with respect to documents and testimony designated as Highly
24   Confidential. See ECF Nos. 580, 561, 768. As such, the Court is satisfied that there is
25   sufficient factual basis to justify the conclusion that compelling reasons exist for sealing
26   the material at issue.
27         Second, each of the parties has narrowly tailored its requests to the protectable
28   portions of the filings that advance confidential business information. The majority of

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 1   the redacted materials are comprised of limited excerpts of exhibits and sentences of the
 2   full reports that implicate the parties’ confidential, non-public business practices and
 3   information. Moreover, the basis for these respective motions do not rest on the
 4   disclosure of the more detailed, specific, and confidential information that the parties
 5   seek to protect. The primary issues within these reports are stated publicly in the motion
 6   papers and accompanying unredacted exhibits.
 7         Accordingly, the Court finds that the requests to seal are narrowly tailored and
 8   sufficiently particularized such that they do not impede upon the public’s ability to
 9   understand the nature of the proceedings and the factual basis for the parties’ claims. As
10   such and in the light of the aforementioned compelling reasons justifying sealing, the
11   Court GRANTS each of the motions to seal or file redacted versions identified by the
12   following table in its entirety.
13         IT IS SO ORDERED.
14   Dated: April 9, 2019
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 1
 2   ECF No.        Movant         Document to be Sealed
 3   3:17-cv-00108-GPC-MDD
 4   887            Qualcomm       Unredacted Memorandum of Points and
 5                                 Authorities in Opposition to
                                   Apple’s Motion in Limine No. 6 to Exclude
 6                                 Evidence of Apple’s Indemnification of the
 7                                 CMs (“Memorandum”) and Exhibits 1-14 to the
                                   March 1, 2019 Declaration of Anders
 8                                 Linderot in Support of Qualcomm’s Opposition
 9                                 to Apple’s Motion in Limine No. 6 to
                                   Exclude Evidence of Apple’s Indemnification of
10                                 the CMs (“Linderot Declaration
11                                 Exhibits”)
     890            Qualcomm       Exhibits 1 and 2 to the Declaration of James W.
12                                 Carlson in Support of
13                                 Qualcomm’s Opposition to the Apple and the
                                   Contract Manufacturers’ Motion in Limine
14                                 No. 11 (the “Carlson Declaration”).
15   894            Qualcomm       Unredacted Opposition to Apple Inc. and the
                                   Contract Manufacturers’
16                                 Motion in Limine No. 9 (“Motion in Limine No.
17                                 9”), Exhibit 1 to the March 1, 2019
                                   Declaration of Nathan E. Denning in Support of
18                                 Qualcomm’s Opposition to Motion in
19                                 Limine No. 9 (“Denning Decl. Exhibit”)
     897            Qualcomm       Portions of its Opposition to Apple Inc. and the
20                                 Contract Manufacturers’
21                                 (collectively, “Apple”) Motion in Limine No. 7
                                   (“Opposition to Motion in Limine
22                                 No. 7”), Exhibits 1 to 3, 6 and 7 to the March 1,
23                                 2019 Declaration of Nathan E. Denning
                                   in Support of Qualcomm’s Opposition to Motion
24                                 in Limine No. 7 (“Denning Decl.
25                                 Exhibits”)
     900            Qualcomm       Unredacted Opposition to Apple and the
26                                 Contract Manufacturers’
27                                 (collectively “Apple”) Motion in Limine No. 12
                                   (“Motion in Limine No. 12”), an
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 1                                 Unredacted March 1, 2019 Declaration of James
                                   W. Carlson in Support of Qualcomm’s
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                                   Opposition to Motion in Limine No. 12
 3                                 (“Carlson Declaration”), and Exhibits 2 to 7 to
                                   the Carlson Declaration (“Carlson Decl.
 4
                                   Exhibits”)
 5   903            Qualcomm       Unredacted Opposition to Apple Inc.’s Motion in
 6                                 Limine No. 8, Exhibits
                                   1 to 3 to the March 1, 2019 Declaration of
 7                                 Nathan E. Denning in Support of Qualcomm’s
 8                                 Opposition to Motion in Limine No. 8 (“Denning
                                   Decl. Exhibits”)
 9   906            Qualcomm       Unredacted Opposition to the Contract
10                                 Manufacturers’ Motion in
                                   Limine No. 15 (“Opposition to the CMs’ Motion
11                                 in Limine No. 15”), Exhibits 1 to 7 to
12                                 the March 1, 2019 Declaration of Nathan E.
                                   Denning in Support of Qualcomm’s
13                                 Opposition to the CMs’ Motion in Limine No. 15
14                                 (“Denning Decl. Exhibits”)
     909            Qualcomm       Unredacted Opposition to Apple Inc. and the
15                                 Contract Manufacturers’
16                                 Motion in Limine No. 1, Exhibits 5-6 and 10-12
                                   to the March 1, 2019 Declaration of
17                                 Nathan E. Denning in Support of Qualcomm’s
18                                 Opposition to Apple Inc. and the Contract
                                   Manufacturers’ Motion in Limine No. 1
19                                 (“Denning Decl. Exhibits”)
20   912            Qualcomm       Unredacted Opposition to Apple Inc.’s Motion in
                                   Limine No. 4
21                                 (“Opposition to Motion in Limine No. 4”),
22                                 Exhibits 1, 4-5, and 11-15 to the March 1,
                                   2019 Declaration of James W. Carlson in
23                                 Support of Qualcomm’s Opposition to Motion
24                                 in Limine No. 4 (“Carlson Decl. Exhibits”)
     915            Qualcomm       Unredacted Opposition to Apple’s and the CMs’
25                                 Daubert Motion Re:
26                                 243 Patents (ECF 804) (“Opposition to Daubert
                                   Motion Re: 243 Patents”), Exhibits 9 –
27                                 11 to the March 1, 2019 Declaration of Nathan
28                                 E. Denning in Support of Qualcomm’s

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 1                                 Opposition to Daubert Motion Re: 243 Patents
                                   (“Denning Decl. Exhibits”)
 2
 3   916            Apple          Portions of Apple Inc. and the Contract
 4                                 Manufacturers’ Opposition to Qualcomm’s
                                   Daubert Motion No. 6 to Exclude
 5                                 Certain Testimony of Rémy Libchaber and
 6                                 Stephen Wicker, and Exhibit 2 to the
                                   Declaration of Aamir Kazi in Support Thereof
 7   920            Apple          Portions of Apple Inc. and
 8                                 the Contract Manufacturers’ Opposition to
                                   Qualcomm Incorporated’s Motion In
 9                                 Limine No. 3 To Exclude Hearsay Evidence
10                                 From Unretained Experts
     924            Apple          Portions of Apple and the Contract
11                                 Manufacturers’ Opposition to Qualcomm
12                                 Incorporated’s Daubert Motion No. 5
                                   and Motion in Limine To Exclude Testimony
13                                 Suggesting a Required Component-
14                                 Level Royalty Base (“Opposition”), and certain
                                   exhibits to the Appendix of
15                                 Exhibits in support of Apple and the Contract
16                                 Manufacturers’ Opposition
                                   (“Appendix of Exhibits”)
17   925            Qualcomm       Exhibits 4-5, 7-8 and 10 to the February 15,
18                                 2019 Declaration of Anders
                                   Linderot in Support of Qualcomm’s Opposition
19                                 to Apple and the CMs’ Motion in Limine
20                                 No. 13 (“Linderot Decl. Exhibits”)
     930            Qualcomm       Exhibits 1, 2, 5, 7 and 8 to the March 1, 2019
21                                 Declaration of Nathan E.
22                                 Denning in Support of Qualcomm’s Opposition
                                   to Apple Inc. and the Contract
23                                 Manufacturers’ Motion in Limine No. 2
24                                 (“Denning Decl. Exhibits”)
     934            Qualcomm       Unredacted Opposition to Apple’s and the CMs’
25                                 Daubert Motion Re:
26                                 Apportionment and EMVR (“Apportionment
                                   Daubert Opposition”) and Exhibits 1 - 15
27                                 to the March 1, 2019 Declaration of Nathan E.
28                                 Denning in Support of the Apportionment

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 1                                Daubert Opposition (“Denning Decl. Exhibits”)
 2   935           Apple          Portions of Apple Inc. and the
                                  CMs’ Opposition to Qualcomm’s Daubert
 3                                Motion No. 4 To Exclude Expert
 4                                Testimony Regarding Exhaustion and
                                  “Substantial Embodiment” (Apple and the
 5                                CMs’ Opposition to Daubert No. 4)
 6   940           Qualcomm       Unredacted Opposition to Apple’s and the CMs’
                                  Daubert Motion Re:
 7                                Certain Nevo Opinions (the “Opposition to
 8                                Daubert Re: Nevo Opinions”), Exhibits 2-4
                                  and 6 to the March 1, 2019 Declaration of
 9                                Nathan E. Denning in Support of the
10                                Opposition to Daubert Re: Nevo Opinions
                                  (“Denning Decl. Exhibits”)
11   944           Qualcomm       Unredacted Opposition to Apple Inc. and the
12                                CMs’ Daubert Re: Certain
                                  Huber, Putnam, and Stasik Opinions
13                                (“Qualcomm’s “Unwilling Licensee”
14                                Opposition”),
                                  Exhibits 2 to 4 and 6 to 9 to the March 1, 2019
15                                Declaration of Nathan E. Denning in
16                                Support of Qualcomm’s “Unwilling Licensee”
                                  Opposition (“Denning Decl. Exhibits”)
17   947           CMs            Opposition to Qualcomm’s Daubert
18                                Motion No. 3 to Exclude the Testimony of Dr.
                                  Jeffrey Leitzinger
19   950           Apple          Portions of Apple Inc. and the Contract
20                                Manufacturers’ Opposition to Qualcomm’s
                                  Daubert Motion No. 2 to Exclude
21                                Portions of the Expert Report of Paul K. Meyer
22                                and to Forbid Improper
                                  Extrapolation of Dr. Valenti’s Opinions, and
23                                Exhibits 2–6 and 8–9 to the
24                                Declaration of Benjamin C. Elacqua in support
                                  thereof
25   951           Apple          Portions of Apple and the Contract
26                                Manufacturers’ (“CMs’”) Opposition to
                                  Qualcomm Incorporated’s Motion in
27                                Limine No. 7 to Exclude the Opinions and
28                                Testimony of Friedhelm Rodermund

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 1                                (“Opposition”), and portions of an exhibit to the
                                  Appendix of Exhibits in support
 2
                                  of Apple’s Opposition
 3   956           Qualcomm       Unredacted Opposition to Apple Inc.’s Motion
 4                                In Limine No. 5,
                                  Exhibits 3-6 and 7-11 to the March 1, 2019
 5                                Declaration of Nathan E. Denning in Support
 6                                of Qualcomm’s Opposition to Apple’s Motion In
                                  Limine No. 5 (“Denning Decl.
 7                                Exhibits”)
 8   957           Apple          Portions of Apple and the Contract
                                  Manufacturers’ Opposition to Qualcomm
 9                                Incorporated’s Motion in Limine No. 2
10                                To Exclude Evidence of Qualcomm’s Public
                                  Relations Strategy (“Opposition”),
11                                and certain exhibits to the Appendix of Exhibits
12                                in support of Apple and the
                                  Contract Manufacturers’ Opposition
13   962           Qualcomm       Exhibits 7 and 8 to the March 1, 2019
14                                Declaration of Nathan E. Denning
                                  in Support of Qualcomm’s Opposition to Apple
15                                Inc. and the Contract Manufacturers’
16                                Daubert Motion No. 3 (“Denning Decl.
                                  Exhibits”)
17   964           Qualcomm       Portions of its Opposition to Apple
18                                Inc. and the Contract Manufacturers’ Daubert
                                  Motion to Exclude Qualcomm Expert
19                                Oliver Hart (“Brief”) and the entirety of Exhibit
20                                A thereto (“Exhibit A”).
     968           Qualcomm       Portions of its Opposition to Apple
21                                Inc. and the Contract Manufacturers’ Daubert
22                                Motion to Exclude Certain Opinions of
                                  Qualcomm Expert Jonathan Putnam (“Brief”), as
23                                well as the entirety of Exhibits 1-3,
24                                9, and 11-12 thereto
     969           Apple          Portions of Apple Inc. (“Apple”) and the
25                                Contract Manufacturers’ Opposition to
26                                Qualcomm Inc.’s Motion in Limine No. 1 to
                                  Exclude Evidence and Argument Concerning
27                                Royalty Stacking, and Exhibits 1–2 to
28                                the Declaration of Aleksandr Gelberg

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 1   972           Apple          Portions of Apple and the Contract
                                  Manufacturers’ (“CMs’”) Opposition to
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                                  Qualcomm Incorporated’s
 3                                (“Qualcomm’s”) Daubert Motion No. 1 To
                                  Exclude Inadmissible Comparable
 4
                                  License Analysis (“Opposition”), the Declaration
 5                                of Shira Liu in Support of the
                                  Opposition, and certain exhibits to the Appendix
 6
                                  of Exhibits in support of the
 7                                Opposition
 8   976           Qualcomm       Portions of its Opposition to Apple
                                  Inc. and the Contract Manufacturers’ Motion in
 9                                Limine No. 3 to exclude evidence or
10                                argument that Apple and the CMs make, use,
                                  offer to sell, sell, or import Qualcomm’s
11                                patented technology (“Brief”)
12   991           Apple          Portions of Apple Inc. and the Contract
                                  Manufacturers’ Reply in Support of Their
13                                Daubert Motion To Exclude Qualcomm
14                                Expert Oliver Hart
     995           Qualcomm       Unredacted Reply in Further Support of Its
15                                Daubert Motion No. 1 to
16                                Exclude Inadmissible Comparable License
                                  Analyses (“Reply”)
17   1000          Qualcomm       Portions of its unredacted Reply in Further
18                                Support of its Daubert Motion
                                  No. 5 and Motion in Limine to Exclude
19                                Testimony Suggesting a Required Component-
20                                Level Royalty Base (“Reply in Further Support
                                  of Daubert Motion No. 5”), Exhibit 1 to
21                                the March 8, 2019 Declaration of Nathan E.
22                                Denning in Support of Qualcomm’s Daubert
                                  Motion No. 5 (“Denning Decl. Exhibit”)
23   1004          Qualcomm       Unredacted Reply in Further Support of
24                                Qualcomm’s Daubert Motion
                                  No. 4 To Exclude Expert Testimony Regarding
25                                Exhaustion and “Substantial
26                                Embodiment” (Valenti, Wicker, Akl, Bims,
                                  Lanning, Stark, Stevenson, Wells, Libchaber,
27                                Meyer and Simcoe) (“Reply ISO Daubert
28                                Motion No. 4”), Exhibits 29, 30 and 32 – 36 to

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 1                                the March 8, 2019 Declaration of Nathan E.
                                  Denning in Support of Qualcomm’s Reply
 2
                                  ISO Daubert Motion No. 4 (“Denning Decl.
 3                                Exhibits”)
 4   1007          Qualcomm       Unredacted Reply in Further Support of its
                                  Daubert Motion No. 3 to
 5                                Exclude the Opinions and Testimony of Dr.
 6                                Jeffrey Leitzinger Concerning Royalty
                                  “Overcharges” (“Reply”)
 7   1011          Apple          Portions of Apple and the
 8                                CMs’ Opposition to Qualcomm Incorporated’s
                                  Motion for Determination of French
 9                                Law Pursuant to Fed. R. Civ. P. 44.1
10                                (“Opposition”), and Exhibits D, F-I, L-N, P, TY,
                                  DD, FF-HH to the Declaration of Benjamin C.
11                                Elacqua in support thereof
12   1012          Apple          Portions of Apple and the Contract
                                  Manufacturers’ (“CMs’”) Reply in Support of
13                                Their Daubert Motion To Exclude
14                                Regression Analysis by Qualcomm Expert
                                  Professor Aviv Nevo (“Reply”)
15   1016          Qualcomm       Unredacted Reply in Further Support of its
16                                Daubert Motion No. 2 to
                                  Exclude Portions of the Expert Report of Paul K.
17                                Meyer and to Forbid Improper
18                                Extrapolation of Dr. Valenti’s Opinions
                                  (“Reply”) and Exhibits 26 and 29 to the March 8,
19                                2019 Declaration of Anders Linderot in Support
20                                of Qualcomm’s Reply in Further
                                  Support of its Daubert Motion No. 2 to Exclude
21                                Portions of the Expert Report of Paul K.
22                                Meyer and to Forbid Improper Extrapolation of
                                  Dr. Valenti’s Opinions (“Linderot
23                                Declaration Exhibits”)
24   1021          Qualcomm       Unredacted Opposition to Apple’s and the
                                  Contract Manufacturers’
25                                Motion for Determination of French Law
26                                Pursuant to Federal Rule of Civil Procedure
                                  44.1 (“Opposition Brief”), Exhibits 7, 27-31 and
27                                33 to the March 8, 2019 Declaration of
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 1                                Nathan E. Denning in Support of Qualcomm’s
                                  Opposition Brief (“Denning Decl.
 2
                                  Exhibits”)
 3   1033          Qualcomm       Exhibits 68-69, 71-74 and 77 to the March 15,
 4                                2019 Declaration of Nathan
                                  E. Denning in Support of Qualcomm’s Reply
 5                                Memorandum in Further Support of Its
 6                                Motion for Determination of French Law
                                  Pursuant to Federal Rule of Civil Procedure
 7                                44.1(“Denning Decl. Exhibits”)
 8   1049          Qualcomm       Exhibit 1 to the Declaration of Nathan
                                  E. Denning in Support of the Motion Regarding
 9                                BCPA Evidence (“Exhibit”)
10   1052          Apple,         Unredacted versions of
                   Qualcomm,      Attachments 1A-1B, 1G-1J, 2A-2B and 8 to the
11                 and CMs        parties’ Final Joint Trial Notebook
12                                (“Trial Notebook Attachments”)
     1056          Apple          Portions of Apple and the Contract
13                                Manufacturers’
14                                Opposition to Qualcomm Incorporated’s Motion
                                  Regarding BCPA Evidence
15                                (“Opposition”), and certain exhibits to the
16                                Appendix of Exhibits in support of the
                                  Opposition
17   1059          Qualcomm       Unredacted Motion To Set the Order of
18                                Presentation at Trial and To
                                  Permit the Presentation of Limited Evidence
19                                Outside the Presence of the Jury (“Motion”)
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